
37 A.3d 587 (2012)
Mary E. WYSE, Individually and as Executrix of the Estate of Gerald B. Wyse, Deceased, Respondent
v.
David CALLANS, M.D., Shuaib Latif, M.D., the Trustees of the University of Pennsylvania, Hospital of the University of Pennsylvania, University of Pennsylvania Medical Center-Hospital of the University of Pennsylvania, University of Pennsylvania Medical Center-HUP and University of Pennsylvania Health System, Petitioners.
No. 163 EM 2011.
Supreme Court of Pennsylvania.
January 10, 2012.

ORDER
PER CURIAM.
AND NOW, this 10th day of January, 2012, the "Petition for Permission to Appeal" and the Application for Stay are DENIED.
